         Case 1:19-cv-23131-RNS Document 188 Entered on FLSD Docket 03/11/2022 Page 1 of 10


                                           U NITED STATES D ISTRICT C OURT
V'',                      southern                                     ols-
                                                                          rmc'
                                                                             roF                                    Fl
                                                                                                                     ori
                                                                                                                       da
                            E.E.0 .C .                                  DEFENDA N T'S A                     E T          L EX H IB T LIST

                              V.
                                                                                                  CaseN um ber: 1:19-cv-23131
                                                                                                                             Y // ZO
                     University ofM iami
 PRESIDING JUDGE                                       PLAINTIFF'SAU ORNEY                              DEFENDANT'SATTORNEY
  RobertN.Scola,Jr.                                     B.Andre/c.cartaya/K.Amlong                       E. Isicoff/T.Ragatz/c.Yannuzzi
 TRIALDATE(S)                                          COURTREPORTER                                    COURTROOM DEPUTY
  March 7-11,2022
 PLF.
 N0 . DEF.         DATE         M ARKED ADM ITTE                                      DESCRIPTION OFEXHIBITS+AND WITNESSES
      NO.         OFFERED
                                                                                                                                            Exhibit
                                   D-A                  November2019CV ofLoui
                                                                            seDavi
                                                                                 dson-schmi
                                                                                          ch(LDS Depo,Ex.1)                                 Def.
                                                                                                                                            expects
                                  D-                                                                                                        tooffe:
                                       B                LDS Posi
                                                               ti
                                                                onJobDescri
                                                                          pti
                                                                            on(LDSDepo.Ex.2)                                                (cont'
                                                                                                                                                 d
                                                                                                                                            untilnt
                                  D-C                   2/4/00LettertoLDSfrom DeanSugrue(LDS Depo.Ex.3)                                     section
                                  D-D                   8/26/00LettertoLDS from ProvostGl
                                                                                        aser(LDS Depo.Ex.4)
                                  D-E                   10/19/00LDS Appoi
                                                                        ntmentLetter(LDSDepo.Ex.5)
                                  D-F                   5/14/01LDS AppointmentLetter(LDS Depo.Ex.6)
 '
     ?                            D-G                   5/23/02LDS AppointmentLetter(LDS Depo.Ex.7)
                                  D-H                   LDSMaternityLeaveDocuments(LDS Depo.Ex.8)
                                   D-l                  1/4/03Lett
                                                                 ertoLDSfrom DeanSugure(LDS Depo.Ex.9)
                                   D-J                  6/1/03LDSAppoi
                                                                     ntmentLetter(LDS Depo.Ex.10)
                                  D-K                   6/1/04LDSAppoi
                                                                     ntmentLetter(LDS Depo,Ex.11)
                                   D-L                  6/1/05(LDSAppointmentLetter(LDS Depo.Ex.12)
                                  D-M                   6/16/05LettertoDr.Westfrom LDS (LDS Depo.Ex.13)
                                  D-N                   6/22/04LettertoLDSfrom Tallman(LDSDepo,Ex.14)
                                  D-O                   12/10/05LettertoDeanSugruefrom Dr.Frohock(LDS Depo.Ex.15)
                                  D-P                   3/30/06LettertoLDS from DeanSugrue(LDS Depo.Ex.16)
                                  D-Q                   8/4/06LettertoDeanSugruefrom LDS(LDS Depo.Ex.17)
                                  D-R                   LDS CareerAssessmentforTenure/promoti
                                                                                            onAppli
                                                                                                  cation(LDS Depo.Ex.18)
                                  D-S                   2/19/07LettertoLDSfrom ProvostLeBl
                                                                                         anc(LDS Depo.Ex.19)
                                  D-T                   4/24/07LettertoLDS from DeanSugrue(LDS Depo.Ex.20)
                                  D-U                   9/19/07E-mai
                                                                   lChainbetweenLDS,Tal
                                                                                      lmanandDr.Frohock(LDS Depo.Ex.21)
' )(
                                  D-V                   12/12/07LDSRequestforSecondaryAppointment(LDSDepo.Ex.22)
*Includeanotationastothelocation ofanyexhibitnotheldwiththecasefileornotavailablebecauseofsize.
                                                                                                                pagelot- 10     pages
       Case 1:19-cv-23131-RNS Document 188 Entered on FLSD Docket 03/11/2022 Page 2 of 10
    %AO 187A (Rev.7/87)             EXHIBIT AND W ITNESS LIST - CONTINUATION
                    EEOC                    vs.            University OfMiam i               CjAS
                                                                                                .jE9-
                                                                                                    NO.
                                                                                                     cv-23131
     LF. DEF.       DATE    MARKED
     .O. NO.      OFFERED            ADMIW ED                          DESCRIPTION 0F EXHIBITS AND WITNESSES

                             D-W                1/16/08LettertoLDSfrom Dr.Birnbach(LDS Depo.Ey.23)

                             D-X                2/12/08MemotoLDSfrom DeanHalleran(LDSDepo.Ex.24)
                             D-Y                5/1/08LettertoLDS from Dr.Frohock(LDS Depo.Ex.25)

                             D-Z                1/15/09LDSActivi
                                                               tiesRepod(LDS Depo.Ex.26)
                             D-AA               7/20/09LettertoLDSfrom Dr.Frohock(LDSDepo.Ex.27)
                             D-AB                 1/-/10LDSActi
                                                              vi
                                                               ti
                                                                esReport(LDS Depo.Ex.28)
                             D-AC               5/17/10LedertoLDS from Dr.Frohock(LDS Depo.Ex.30)

                             D-AD               1/24/11LDSActivi
                                                               tiesReport(LDSDepo.Ex.31)
                             D-AE               5/17/11E-mailtoLDSfrom Dr.Frohock(LDSDepo.Ex.32)
                             D-AF               1/4/12LDS Acti
                                                             vitiesRepod(LDS Depo.Ex.34)

                            D-AG                5/14/12E-mailtoLDSfrom Dr,West(LDSDepo.Ex.35)

                             D-AH               10/23/12E-mailtoLDS from DeanBachas(LDS Depo.Ex.36)
                             D-AI               1/7/13LDSActivitiesReport(LDSDepo.Ex.37)
                             D-AJ               5/15/13E-mailtoLDSfrom Dr.West(LDSDepo.Ex.38)

                             D-AK               1/-/14LDS Acti
                                                             vitiesRepod(LDS Depo.Ex.39)
                             D-AL               5/23/14LettertoLDS from Dr.West(LDSDepo.Ex.40)
                            D-AM                5/5/14LettertoLDSfrom DeanBachas(LDS Depo.Ex.41)
                            D-AN                6/8/14LeqertoLDSfrom Dr.West(LDS Depo.Ex.42)
                            D-AO                1/13/15LDSActivi
                                                               ti
                                                                esRepod (LDS Depo.Ex.43)

                            D-AP                3/25/15LettertoLDSfrom Tallman(LDSDepo.Ex.44)
                            D-AQ                4/1/15RequestforTerminationofSecondaryAppointment(LDSDepo.Ex.45)
                             D-AR               1/-/16LDS ActivitiesReport(LDS Depo.Ex.46)

                             D-AS               4/-/16LDS CareerAssessmentforPromoti
                                                                                   onto FullProfessor(LDS Depo.Ex.47)
                             D-AT               Li
                                                 stofLDS Ci
                                                          tationCounts(LDS Depo.Ex.48)
                            D-AU                5/31/16LettertoLDS from Dr.West(LDS Depo.Ex.49)
                             D-AV               1/11/17LDSActi
                                                             viti
                                                                esReport(LDS Depo.Ex.5O)
'
                            D-AW                4/22/17LedertoLDSfrom Dr.Birnbach(LDSDepo.Ex.51)

                                                                                        Pagc       2     of     10   pages
              Case 1:19-cv-23131-RNS Document 188 Entered on FLSD Docket 03/11/2022 Page 3 of 10
%AO 187A(Rev.7/87)                      EXH IBIT A ND W ITNE SS LIST - CO N TINU A TION
                      E.E.O.C.                 VS.         Uni
                                                             versity ofMiam i               cAs
                                                                                             1.jE9xo.
                                                                                                  .cv-23131
         LF. DEF.     DATE
    ..
           . NO.     OFFERED   MARXED ADMIU ED                          DESCRIPTION 0F EXHIBITSAND W ITNESSES

                                 D-AX            5/31/17LettertoLDS from Dr.West(LDS Depo.Ex.52)

                                 D-AY            1/4/18LDSActi
                                                             vi
                                                              ti
                                                               esReport(LDS Depo.Ex.53)
                                 D-AZ            5/17/18LettertoLDS from Dr.West(LDS Depo.Ex.54)

                                 D-BA            1/8/19LDSActivitiesReport(LDSDepo.Ex.55)

                                 D-BB            6/11/19LettertoLDS from Dr.West(LDSDepo.Ex.56)
                                 D-BC            4/20/10E-mai
                                                            lsbetweenDr.KogerandLDS (LDS Depo.Ex.57)
                                 D-BD            3/30/17E-mai
                                                            ltoDeanBachasfrom Dr.Jensen-Doss(LDSDepo.Ex.59)

                                 D-BE            5/16/17E-mailtoLDSfrom LDS(LDS Depo.Ex.6O)

                                 D-BF            5/12-17/17E-mai
                                                               lchainbetweenLDSandDr.West(LDS Depo.Ex.61)
                                 D-BG            5/23/17E-mailtoDeanBachasfrom LDS (LDS Depo.Ex.62)

                                 D-BH            5/16-30/17E-mailchai
                                                                    nbetweenLDS,DeanBachasandfemalefacul
                                                                                                       ty(LDSDepo.Ex.63)

                                 D-BI            5/28/17-6/2/17E-mailchainbetweenLDSandconference(LDSDepo.Ex.64)
                                 D-BJ            7/3/17-8/24/17E-mailchai
                                                                        nbetweenLDSandMuschett(LDSDepo.Ex,65)
.
.. .     ..
         7
                                 D-BK            8/28/17-11/18/17E-mailchai
                                                                          nbetweenLDSandMuschett(LDS Depo.Ex.66)

                                 D-BL            5/14/18E-mailfrom WesttoPol.sci.Dep'
                                                                                    t(LDSDepo.Ex.67)

                               D-BM              5/16-22/18E-mai
                                                               lchainbetweenLDS andAAUP (LDSDepo.Ex.68)
                                 D-BN            6/5/18Letterfrom KarenAmlongtoEEOC (LDS Depo.Ex.69)
                                 D-BO            6/1/18LDS'EEOC ChargeofDi
                                                                         scriminati
                                                                                  on(Nel
                                                                                       sonDepo.Ex.2;Meredi
                                                                                                         thDepo.Ex.3)
                                 D-BP            UndatedLDSTimeline (LDS Depo.Ex.7O)
                                 D-BQ            UndatedLDS SalarySpreadsheet(LDS Depo.Ex.72)
                                 D-BR            10/28/18-12/18/18E-mailchainbetweenLDs/herattorneyandEEOC (LDS Depo.Ex.75)
                                 D-BS            Section10,EEOC Compl
                                                                    ianceManual(NelsonDepo.Ex.1;MeredithDepo.Ex.2)

                                 D-BT            EEOC ChargeDetailInquiry(Nel
                                                                            sonDepo.Ex.3;MeredithDepo.Ex.4)
                                 D-BU            EEOCActivityLog(Nel
                                                                   sonDepo.Ex.4;Meredi
                                                                                     thDepo.Ex.6)

                                 D-BV            7/23/18-8/8/18E-mailchainamongNel
                                                                                 son,AmlongandLDS (Nel
                                                                                                     sonDepo.Ex.5)
                               D-BW              8/10/18Zoom meetinginvi
                                                                       tation(NelsonDepo.Ex.6)
         3                       o-Bx            8/31/18UM positionstatementw/oattachments(NelsonDepo.Ex.7;Meredi
                                                                                                                thDepo.Ex.8)

                                                                                         Pagc      3    or      1O   pages
     Case 1:19-cv-23131-RNS Document 188 Entered on FLSD Docket 03/11/2022 Page 4 of 10
%AO 187A (Rzv.7/57)              EXHIBIT AND W ITNESS LIST - CONTINUATION
               E.E.O.C.                  VS.           University ofMiami               cAs ENo.
                                                                                         j.jg- cv-
                                                                                                 23131
 LF. DEF.      DATE     MARKED ADM
   . N0.      OFFERED                ITTED                           DESCRIPTION OF EXHIBITSAND W ITNESSES

                          D-BY               8/31/18Uni
                                                      versi
                                                          ty ofMiamiPosition Statementw/attachments

                          D-BZ               9/19/18LDSRebuttal(NelsonDepo.Ex.8'
                                                                               ,MeredithDepo.Ex.9)

                          D-CA               10/29/18-11/01/18E-mailchainamongNel
                                                                                son,PachecoandBowen(Nel
                                                                                                      sonDepo.Ex.9)
                          D-CB               11/28/18E-mailchai
                                                              nbetweenNel
                                                                        sonandAmlong(Nel
                                                                                       sonDepo.Ex.10)

                          D-CC               10/20/18-11/28/18E-mailchainbetweenNelsonandAmlong(NelsonDepo.Ex.11)
                          D-CD               11/22/18-12/17/18E-mai
                                                                  lchainbetweenNel
                                                                                 sonandAmlong(Nel
                                                                                                sonDepo.Ex.12)
                          D-CE               10/20/18-12/18/18E-mailchainbetweenNelsonandAmlong(NelsonDepo.Ex.13)
                          D-CF               12/20/18E-mailtoPachecofrom Nelson(NelsonDepo.Ex.14.
                                                                                                ,Meredi
                                                                                                      thDepo.Ex.16)
                          D-CG               2/1-21/18E-mailchainbetweenNelsonandPacheco(NelsonDepo.Ex.15.
                                                                                                         ,MeredithEx.17)
                          D-CH               2/8/19Nelsoninterview notes(Nel
                                                                           sonDepo.Ex.16)

                          D-CI               10/20/18-3/1/19E-mai
                                                                lchainbetweenNelsonandAml
                                                                                        ong(NelsonDepo.Ex.17.
                                                                                                            ,MeredithEx.'
                                                                                                                        é
                          D-CJ               NoticeofTaki
                                                        ng30(b)(6)Depo.ofEEOC (MeredithDepo.Ex.1)

                          D-CK               EEOC InvestigativeLog(Meredi
                                                                        thDepo,Ex.5)
                          D-CL               7/23/18-8/8/18E-mailchainbetweenNel
                                                                               sonandLDS(MeredithDepo,Ex.7)

                          D-CM               10/20/18-12/17/18E-mailchainbetweenNelsonandAmlong(Meredi
                                                                                                     thDepo.Ex.10)
                          D-CN               10/29/18-11/1/18E-mailchai
                                                                      nandatt
                                                                            achedre2FactFindi
                                                                                            ng Conference(Meredi
                                                                                                               thDepo.Ex.11)
                          D-CO               11/28/18E-mailchainbetweenNel
                                                                         sonandAmlong(Meredi
                                                                                           thDepo.Ex.12)

                          D-CP               10/20/18-11/28/18E-mailchainbetweenNelsonandAml
                                                                                           ong(Meredi
                                                                                                    thDepo.Ex.13)
                          D-CQ               10/20/18-12/17/18E-mailchainbetweenNelsonandAml
                                                                                           ong(Meredi
                                                                                                    thDepo.Ex.14)

                          D-CR               10/20/18-12/18/18E-mailchainbetweenNel
                                                                                  sonandAmlong(MeredithDepo.Ex.15)
                          D-CS               3/4/19EEOC l
                                                        nvesti
                                                             gati
                                                                veMemorandum (MeredithDepo.Ex.19)
                          D-CT               Meredi
                                                  thdepositionnotes(Meredi
                                                                         thDepo.Ex.25)

                          D-CU               Depo.subpoenaforEri
                                                               nGeorge(GeorgeDepo.Ex.1)
                          D-CV               5/24/21-6/1/21E-mailchainbetweenGeorgeandEEOC att
                                                                                             orneys(GeorgeDepo.Ex.2)

                      O D-CW                 3/26/21E-mailchainbetweenGeorgeandEEOCattorneys(GeorgeDepo,Ex.3)
                          D-CX               LDS HiringDocs(SugrueDepo.Ex.2)
 1                        D-CY               GonzalezHi
                                                      ringDocs(SugrueDepo.Ex.3)

                                                                                       page   4       of     10   pagcs
              Case 1:19-cv-23131-RNS Document 188 Entered on FLSD Docket 03/11/2022 Page 5 of 10
% AO 187A (Rev.7/87)                     EX H IBIT AN D W ITN E SS L IST - C O N TIN U A TIO N
                       E.E.O.C.                  VS.         University ofMiami               cAs ENO.
                                                                                               j.jg-cv-23131
         LF. DEF.      DATE
: .
    ..
                NO.   OFFERED   MARKED ADMITTED                            DESCRIPTION OFEXHIBITSAND W ITNESSES

                                  D-CZ             SchrankHi
                                                           ringDocs(SugrueDepo.Ex.4)

                                  D-DA             ShadlenHiringDocs(SugrueDepo.Ex.5)
                                  D-DB             7/7/09 E-mailchainbetween Dean Dixon and Dr. Frohock(SugrueDepo.Ex.6)

                                  D-DC             KogerHiringDocs(SugrueDepo,Ex.7)

                                  D-DD             UscinskiHiringDocs(SugrueDepo.Ex.8)
                                  D-DE             February2018Facul
                                                                   tySal
                                                                       aryAnalysis(BirnbachDepo.Ex.2)

                           J D-DF                  2011-2017Pol
                                                              .Sci.sal
                                                                     aryspreadsheet(BirnbachDepo.Ex.6)
                                  D-DG             Handwri
                                                         ttennotesre:Pol.Sci.sal
                                                                               ari
                                                                                 es(BirnbachDepo.Ex.7)
                                  D-DH             Handwrittennotesre:meetingwithDr.West(BirnbachDepo.Ex.8)

                                  D-DI             Handwri
                                                         ttennotesre:meetingwithDeanBachas(BirnbachDepo.Ex.9)
                                  D-DJ             3/7/12E-mai
                                                             lwithattachmentsbetweenDr.BirnbachandDeanBachas(BirnbachDepo,Ex.1O)
                                  D-DK             3/8/15E-mailwi
                                                                thattachmentsbetweenDr.BirnbachandSapp(BirnbachDepo.Ex.12)

         ti
                              O D-DL               9/1/14E-mai
                                                             lwithattchmentbetweenDeanBachasandLewi
                                                                                                  s(BachasDepo.Ex.4)
.

                                  D-DM             3/11/11E-mailandattachmenttoDr.Frohock(BachasDepo.Ex.10)

                                  D-DN             2/24/11E-mailandattachmenttoDr.Frohock(BachasDepo.Ex.11)
                                  D-DO             2/3/14E-mailchai
                                                                  nwi
                                                                    thDeanBachas(BachasDepo.Ex.12)
                                  D-DP             3/23/11E-mailandattachmentfrom Dr.Frohock(BachasDepo.Ex.13)
                                  D-DQ             3/6/12E-mai
                                                             landattachmentfrom Dr.West(BachasDepo.Ex.14.
                                                                                                        ,WestDepo.Ex.7)
                                  D-DR             DeanBachasSalaryBinderdocs.(BachasDepo.Ex.15)

                           tâ D-DS                 3/1/18E-mai
                                                             landattachmenttoDeanBachas(BachasDepo.Ex.17)
                                  D-DT             3/2/18E-mai
                                                             lchainwithDeanBachas(BachasDepo.Ex.18)
                                  D-DU             8/3/18E-mai
                                                             landattachmenttoDeanBachas(BachasDepo.Ex.19)

                                  D-DV             LDS HiringDocs(WestDepo.Ex.2)
                                D-DW               GonzalezHi
                                                            ringDocs(WestDepo.Ex.3)
                                  D-DX             SchrankHiringDocs(WestDepo.Ex.4)
                                  D-DY             Shadl
                                                       enHiringDocs(WestDepo.Ex.5)
L'
 !                                D-DZ             Dr.West2013sal
                                                                aryrecommendations(WestDepo.Ex.8)

                                                                                            Page    5     of      10   pages
         Case 1:19-cv-23131-RNS Document 188 Entered on FLSD Docket 03/11/2022 Page 6 of 10
%AO 187A(Rev,7/87)                        EXH IBIT AND W ITNESS LIST - CONTINUATION
                    E.E.O .C.                   VS.         Uni
                                                              versity ofMiami               CAS ENO.
                                                                                             1.1g-
                                                                                                   cv-23131
    DLF. DEF.     DATE
    .,
       . NO.    OFFERED     MARKED ADMITTED                              DESCRIPTION OF EXHIBITS AND WITNESSES

                                D-EA              3/10/14E-mailandattachmentfrom Dr.West(WestDepo.Ex.9)
                                D-EB              3/10/14 E-mailandattachmentfrom Dr. West(
                                                                                          WestDepo.Ex.10)
                                D-EC              Spreadsheetfrom Dr.West(WestDepo.Ex.11)
                                D-ED              3/14/16E-mailandattachmentfrom Dr.West(WestDepo.Ex.12)
                                D-EE              3/24/17 E-mailand attachmentfrom Dr. West(
                                                                                           WestDepo.Ex.13)
                                D-EF              Pol.Sci.sal
                                                            aryspreadsheets/documents(WestDepo.Ex.14)

                                D-EG              Pol.Sci.sal
                                                            aryspreadsheets/documents(WestDepo.Ex.15)
                                D-EH              5/16-17/17E-mailchainbetweenLDS andDr.West(WestDepo.Ex.17)

                                D-EI              Dr.KogerCV (KogerDepo.Ex.1)
                                D-EJ              Dr.KogerCV (KogerDepo.Ex.2)

                                D-EK              Dr.Koger2007AnnualEvaluationandActivi
                                                                                      tyReport(KogerSwornDec.Ex,1)
                                D-EL              Dr.Koger2008AnnualEval
                                                                       uati
                                                                          onandActi
                                                                                  vityRepod(KogerSwornDec.Ex.2)

                                D-EM              Dr.Koger2009AnnualEvaluationandActivi
                                                                                      tyReport(KogerSwornDec,Ex,3)
.' .
   's



                                D-EN              Dr.Koger2010AnnualEvaluationandActivi
                                                                                      tyRepod (KogerSwornDec.Ex.4)

                                D-EO              Dr.Koger2011AnnualEvaluationandActivi
                                                                                      tyReport(KogerSwornDec.Ex.5)
                                D-EP              Dr.Koger2012AnnualEvaluati
                                                                           onandActivityRepod(KogerSwornDec.Ex.6)
                                D-EQ              Dr.Koger2013AnnualEvaluationandActivi
                                                                                      tyReport(KogerSwornDec.Ex.7)

                                D-ER              Dr.Koger2014AnnualEvaluationandActivi
                                                                                      tyRepod(KogerSwornDec,Ex.8)
                                D-ES              Dr.Koger2015AnnualEvaluationandActivi
                                                                                      tyReport(KogerSwornDec.Ex.9)
                                D-ET              Dr.Koger2016AnnualEvaluationandActivityReport(KogerSwornDec.Ex.10)
                                D-EU              Dr.Koger2017AnnualEvaluati
                                                                           onandActivi
                                                                                     tyReport(KogerSwornDec.Ex.11)
                                D-EV              Dr.Koger2018AnnualEvaluati
                                                                           onandActivi
                                                                                     tyReport(KogerSwornDec.Ex.12)

                            D-EW                  7/23/19Memorandum/correspondencetoDr.Koger(KogerSwornDec.Ex.13)
                '
                       (j D-EX                    Memorandare:LDSPromotiontoAssoc.Prof.andTenure(BachasSwornDec.Ex.1)
                        I
                        -
                        X D-EY ' Memor
                                     andar
                                         e:KogerPr
                                                 omot
                                                    i
                                                    ont
                                                      oAssoc.Pr
                                                              of.andTenur
                                                                        e(BachasSwornDec.Ex.2)
                                D-EZ              Memorandare:LDS Promoti
                                                                        ontoFullProf.(BachasSwornDec.Ex.3)
    '
r   L:                          D-
                                     FA           Memorandare:KogerPromotionto Ful
                                                                                 lProf.(BachasSwornDec.Ex.4)

                                                                                          pagc     6     or      10   pages
     Case 1:19-cv-23131-RNS Document 188 Entered on FLSD Docket 03/11/2022 Page 7 of 10
%AO 187A (Rev.7/87)               EXHIBIT AND W ITNESS LIST - CONTINUATION
                E.E.O.C.                VS.            University ofMiami                cAs ENo.
                                                                                          1.1g-
                                                                                                cv-23131
  LF.   DEF.     DATE
'.. .
,
        NO.    OFFERED   MARKED ADMIU ED                              DESCRIPTION OFEXHIBITSAND W ITNESSES

                           D-FB            3/30/17E-mai
                                                      landattachmenttoDeanBachas(BachasSwornDec.Ex.5)

                           D-FC            8/29/18E-mailandattachmenttoDeanBachas(BachasSwornDec.Ex.6)
                           D-FD            WebofScienceCitationCountsforDrs.Koger,Gonzal
                                                                                       ezandLDS (BachasSwornDec.Ex.7)
                           D-FE     *      GoogleSchol
                                                     arCi
                                                        tati
                                                           onCountsforDrs.
                                                                                Koger,GonzalezandLDS (BachasSwornDec.Ex.8)
                           D-FF            WebofSci
                                                  enceCi
                                                       tationCountsforDrs.KogerandLDS(BachasSwornDec.Ex.9)
                           D-FG            GoogleScholarCi
                                                         tati
                                                            onCountsforDrs.KogerandLDS (BachasSwornDec.Ex.10)

               S
               q /1 D-FH                   Pr
                                            i
                                            ntoutfr
                                                  omUSDepadmentofSt
                                                                  at
                                                                   ewebsi
                                                                        t
                                                                        ere:Ful
                                                                              bri
                                                                                ght(SecondBachasSwnr
                                                                                                   nDec.Para.10)
                      (*
                       1 D-Fl              Composi
                                                 t
                                                 e:A1LDSAnnualEval
                                                                 uat
                                                                   i
                                                                   onsandAct
                                                                           i
                                                                           vi
                                                                            tyRepor
                                                                                  t
                                                                                  s
                           D-FJ            Composite:AIIKogerAnnualEvaluations andActivityReports

                           D-FK            Composite:AIlGonzal
                                                             ezAnnualEvaluationsandActivi
                                                                                        tyReports

                           D-FL            Composite:AI1CUPA Spreadsheets/salary data

                           D-FM            Composite:Al
                                                      ILDS annualsalaryletters(includi
                                                                                     ngreappoi
                                                                                             ntmentIetters)

                           D-FN            Composite:AIIKogerannualsalaryI
                                                                         etters(incl
                                                                                   udingreappointmentI
                                                                                                     etters)
                           D-FO            Composite:AIIGonzal
                                                             ezannualsalaryIetters(includi
                                                                                         ngreappoi
                                                                                                 ntmentI
                                                                                                       etters)
                           D-FP            Summary:Chart
                                                       /spreadhseettracking LDS salaryovertime

                           D-FQ            Summary:Chart/spreadhseettracking Kogersal
                                                                                    aryovertime

                           D-FR            Summary:Chart/spreadhseettracking Gonzalezsalaryovertime

                           D-FS            Summary:Chart/spreadhseetcomparing LDS,Kogerand Gonzal
                                                                                                ezsal
                                                                                                    ari
                                                                                                      esovertime

                           D-FT            Summary:Chafspreadsheetcomparing Dept.ofPol.Sci.sal
                                                                                             aries overtime

                           D-FU            Jobadvedi
                                                   sement/postingforpositionul
                                                                             ti
                                                                              m atelyobtained by LDS

                           D-FV            Jobadvedi
                                                   sement/postingforposition ulti
                                                                                m atelyobtained by Koger

                           D-FW            Jobadverti
                                                    sement/postingforposi
                                                                        tionul
                                                                             timatelyobtained byGonzal
                                                                                                     ez

                  J        D-FX            Memorandare:Gonzal
                                                            ezPromoti
                                                                    ontoAssoc.Prof.andTenure
                           D-FY            Memoranda re:Gonzalez Promotionto FullProf.

                           D-FZ            LDS FacultyAffairs File                                                           Ex
                                                                                                                             oehi
                                                                                                                                bitE
                                                                                                                               s ma
                                                                                                                             offerif
                           D-GA            KogerFacultyAffairs File                                                          theneet
..
                                                                                                                             arises
'$                                                                                                                            cont'd
 f
 .                         D-GB            Gonzalez Facul
                                                        tyA#airs Fil
                                                                   e                                                         untillas
                                                                                                                             exhibit

                                                                                        pagc   7     of      10   Iuges
          Case 1:19-cv-23131-RNS Document 188 Entered on FLSD Docket 03/11/2022 Page 8 of 10
%.AO 187A(Rev.7/87)                   EXH IBIT AND W ITNESS LIST - CONTINUATION
                   E .E.O.C.                 Vs.          Uni
                                                            versity ofMiam i                 CAS ENO.
                                                                                              1.1g-cv-23131
      LF. DEF.     DATE
,''   0.    NO.   OFFERED   M ARKED ADMITTED                            DESCRIPTION OF EXHIBITSAND W ITNESSES

                               D-GC            LDS DepartmentFi
                                                              le

                               D-GD            KogerDepartmentFi
                                                               le

                               D-GE            Gonzalez DepadmentFile

                               D-GF            BirnbachFile(Bates5606-5624)
                               D-GG            BachasHardCopySalaryDocuments(Bates127288-127413)

                               D-GH            6/14/18Intervi
                                                            ew Noteswi
                                                                     thDr.West(typed)(Bates128064-128068)
                               D-GI            6/27/18 Intervi
                                                             ew Noteswi
                                                                      thDeanBachas(typed)(Bates128069-128071)
                               D-GJ            Ti
                                                tleVII
                                                     /IXtrainingmateri
                                                                     als(Bates128072-128120)

                               D-GK     'N     Dr.KogerCareerAssessmentforPromoti
                                                                                onsenure
                               D-GL      -     Dr. KogerCareerAssessmentforPromotionto FullProfessor

                               D-GM            1994-2001UniversityofMiamiFacul
                                                                             tyManual

                               D-GN            2001-2002 Uni
                                                           versi
                                                               tyofMi
                                                                    amiFacul
                                                                           ty Manual

                               D-GO            2001-2002 UniversityofMiamiFacul
                                                                              tyManual

                               D-GP            2002-2003 Universi
                                                                tyofMiamiFacul
                                                                             ty Manual

                               D-GQ            2004-2005 Uni
                                                           versi
                                                               tyofMi
                                                                    amiFacul
                                                                           ty Manual

                               D-GR            2006-2008 Universi
                                                                tyofMi
                                                                     amiFacul
                                                                            ty Manual

                               D-GS            2009-2010 Uni
                                                           versi
                                                               tyofMi
                                                                    amiFacul
                                                                           ty Manual

                               D-GT            2011-2012 University ofMiamiFaculty Manual

                               D-GU            2012-2013 Uni
                                                           versi
                                                               tyofMi
                                                                    amiFacul
                                                                           ty Manual

                               D-GV            2013-2014 Uni
                                                           versi
                                                               tyofMi
                                                                    amiFacul
                                                                           ty Manual

                               DGW             2014-2015Uni
                                                          versi
                                                              tyofMiamiFaculty Manual

                               D-GX            2015-2016 Uni
                                                           versi
                                                               tyofMi
                                                                    amiFacul
                                                                           ty Manual

                               D-GY            2016-2017 UniversityofMiamiFaculty Manual

                               D-GZ            2017-2018 University ofMiamiFacultyManual

                               D-HA            2018-2019 Uni
                                                           versi
                                                               ty ofMi
                                                                     amiFacul
                                                                            ty Manual

                               D-HB            2018-2019(Updated)Uni
                                                                   versi
                                                                       tyofMiamiFacultyManual
      7                        D-HC            2019-2020 Uni
                                                           versityofMiamiFacul
                                                                             tyManual

                                                                                            I'age   8   ot-     10   pages
    Case 1:19-cv-23131-RNS Document 188 Entered on FLSD Docket 03/11/2022 Page 9 of 10
%AO 187A (Rev.7/87)               EXHIBIT AND W ITNESS LIST - CONTINUATION
               E .E.O.C.                VS.           University ofM iam i                C1ASENO.
                                                                                             .19-   cv-23131
 LF.   DEF.     DATE
 : .   NO.    OFFERED   MARKED ADMIU ED                             DESCRPTION 0F EXHIBITS AND WITNESSES

                           D-HD           DepartmentofPoliticalScience Bylaws

                           D-HE           UM EqualEmploymentOppoduni
                                                                   ty/AffirmativeActionPoli
                                                                                          cy(Bates1713-1714)
                           D-HF           EEOC Responsesto UM'
                                                             s FirstSetofInterrogatori
                                                                                     es

                           D-HG           EEOC Responsesto UM'
                                                             sSecond SetofInterrogatories

                           D-HH           LDS ResponsestoUM's FirstSetofInterrogatori
                                                                                    es

                           D-HI           LDS Responsesto UM'sSecondSetofInterrogatories

                           D-HJ           EEOC Responsesto UM's FirstSetofRequestsforAdmissions

                           D-HK           LDS Responsesto UM'sFirstSetofRequestsforAdmi
                                                                                      ssions

                           D-HL           AIIdocumentsproduced during discovery in thiscase

                           D-HM           AIIdepositionexhibitsinthiscase

                           D-HN           AIlsworndeclarationsoraffidavi
                                                                       tssubmi
                                                                             tted inthiscase

                           D-HO           AlIcorrespondence(includinge-mails)betweenthepadiesandthei
                                                                                                   rcounselinthiscase
                           D-HP           AllexhibitsonPlaintiffsExhibitList

                           D-HQ           AIIexhibitsonlntervenor-pl
                                                                   aintiffsExhibitList

                           D-HR           AIldocumentsnecessaryforcross-examination

                           D-HS           A11documentsnecessaryforrebuttal

                           D-HT           AIIdocumentsnecessaryfori
                                                                  m peachment

                           D-HU           Anydemonstrati
                                                       ve exhibi
                                                               ts

                           D-HV           Anysummaryexhi
                                                       bits

                         D-HW             2003-2004UniversityofMiamiFacul
                                                                        tyManual(previ
                                                                                     ousl
                                                                                        ypartofD-HL)
                           D-HX           2005-2006Uni
                                                     versityofMi
                                                               amiFacul
                                                                      tyManual(previouslypadofD-HL)
                           D-HY           2008-2009UniversityofMiamiFacul
                                                                        tyManual(previ
                                                                                     ouslypartofD-HL)

                           D-HZ           2010-2011UniversityofMiamiFacul
                                                                        tyManual(previ
                                                                                     ouslypartofD-HL)

                      U1 D-IA        * 3/1/22GoogleScholarCi
                                                           tati
                                                              onsforLDS
                      )1 D-I
                           B              3/1/
                                             22Googl
                                                   eSchol
                                                        arCi
                                                           t
                                                           ati
                                                             onsforKoger
                      '
                      1 D-IC              3/1/22Googl
                                                    eScholarCi
                                                             tati
                                                                onsforGonzal
                                                                           ez
                      '1 D-ID             Jul
                                            y/August2009correspondencere:Gonzal
                                                                              ezretenti
                                                                                      onoffer(previousl
                                                                                                      ypartofD-GB)
                                                                                         Page       9    ot
                                                                                                          -    10   pages
        Case 1:19-cv-23131-RNS Document 188 Entered on FLSD Docket 03/11/2022 Page 10 of 10
VAO 187A (Rev.7/87)               EXHIBIT AND W ITNESS LIST - CONTINUATION
                E.E.O.C.                 VS.         Universi
                                                            ty ofMiami               c1
                                                                                      xu.jg
                                                                                          ENo.
                                                                                           .
                                                                                             cv-23131
    F. DEF.      DATE
..
 '.
: . . NO.      OFFERED   MARKED ADMITTED                          DESCRIPTION OFEXHIBITSAND WITNESSES

                           D-IE            3/24/06LettertoLDSfrom Frohock(previouslypartofD-GC)
                           D-IF      %     Chart:CAS Facul
                                                         t
               ) o                                        yFYI
                                                             9Sal
                                                                aryvsYearsSi
                                                                           nceDegreebyRank(
                                                                                          pr
                                                                                           evi
                                                                                             ousl
                                                                                                ypadofD-GG)
                           D-IG            David Ji
                                                  a vs.Uni
                                                         versi
                                                             tyofMi
                                                                  ami,etaI. Case -W estaway'
                                                                                           sAnswerand Affirmati
                                                                                                              ve Defenses

                           D-IH            DavidJia vs.Uni
                                                         versi
                                                             tyofMi
                                                                  ami
                                                                    , etaI
                                                                         .Case - Pl
                                                                                  aintiff'
                                                                                         sW itnessLi
                                                                                                   st




T ,?




,   f




                                                                                   page   10      ot
                                                                                                   -    10   Pages
